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CoocH AND TAYLOR

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August 2, 2022

VIA CM_ECF

 

Honorable Richard G. Andrews

U.S. District Court for the
District of Delaware

J. Caleb Boggs Federal Building

844 N. King Street

Courtroom 6A

Wilmington, DE 19801

Re: Inre Zoom Video Communications, Inc. Stockholder Derivative Litigation,
Consol. C.A. No. 1:20-ev-00797-VAC

Dear Judge Andrews:

Counsel for plaintiffs Hugues Gervat, Sara Anderson, and Suzanne Flannery, and counsel
for defendants Eric S. Yuan, Kelly Steckelberg, Johnathan Chadwick, Carl M. Eschenbach, Peter
Gassner, Kimberly L. Hammonds, Dan Scheinman, Santiago Subotovsky, and Bart Swanson and
nominal defendant Zoom Video Communications, Inc. hereby submit this letter pursuant to this
Court's August 1, 2022 Oral Order for the parties to file a status letter apprising the Court as to the
status of the case.

The action is stayed until and through resolution of a motion to dismiss in the securities
class action pending in the U.S. District Court for the Northern District of California, captioned Jn
re Zoom Securities Litigation, Case No. 3:20-cv-02353-JD (the "Securities Class Action") (D.I.
5). On February 16, 2022, the court granted and denied in part defendants' motion to dismiss
("Order on the Motion to Dismiss"). Defendants in the Securities Class Action on March 14, 2022
filed a motion for partial reconsideration of the Order on the Motion to Dismiss. On March 22,
2022, the Court ordered Plaintiff to respond to the Reconsideration Motion, which Plaintiff did on
March 29, 2022.

Defendants' motion for reconsideration in the Securities Class Action remains pending.
The parties therefore agree that the motion to dismiss in the Securities Class Action has not been
resolved, so that the stay agreement in this action remains in effect.

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Should Your Honor have any further questions, counsel is available at the Court's
convenience.

Respectfully submitted,
/s/ Blake A. Bennett
Blake A. Bennett (#5133)

BAB/cls
cc: All parties (via CM/ECF)
